         Case 1:24-cv-00008-DAE Document 12 Filed 01/12/24 Page 1 of 1            FILED
                                                                             January 12, 2024
                                                                           CLERK, U.S. DISTRICT COURT
                                                                           WESTERN DISTRICT OF TEXAS

                        UNITED STATES DISTRICT COURT                               Julie Golden
                                                                        BY: ________________________________
                      FOR THE WESTERN DISTRICT OF TEXAS                                         DEPUTY
                               AUSTIN DIVISION



 UNITED STATES OF AMERICA,
        Plaintiff,                                 Case No. 1:24-cv-00008-RP

 v.

 THE STATE OF TEXAS; GREG ABBOTT,
 in his official capacity as Governor of Texas;
 TEXAS DEPARTMENT OF PUBLIC
 SAFETY; STEVEN C. MCCRAW, in his of-
 ficial capacity as Director of Texas Depart-
 ment of Public Safety,
        Defendants.


                      ORDER SETTING BRIEFING SCHEDULE

       Upon consideration of the parties’ Joint Proposed Briefing Schedule, it is hereby

ORDERED that the following schedule and page limits shall govern the United States’ forth-

coming motion for preliminary and permanent injunction:


                      Brief                             Date               Page Limit
 United States’ motion                            January 12, 2024      40 pages
 Defendants’ opposition                           February 2, 2024      40 pages
 United States’ reply                             February 12, 2024     20 pages


       IT IS SO ORDERED.


Dated: January 12, 2024                           ____________________________
                                                  Robert Pitman
                                                  United States District Judge
